Case 2:OO-CV-02923-SH|\/|-egb Document 245 Filed 07/06/05 Page 1 0f.4- P.ag-.e|D 412

 

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Plaintiffs,
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v. csvu. AcnoN No. oo-zsza mm
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AuTozoNE,
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Defendant.

 

ORDER DlSMISS|NG ACT|ON OF INTERVENlNG PLA|NTIFF
CONSTANCE AMOS

 

lt appears to the Court that intervening plaintiff Constance Amos has filed a notice,
pursuant to Fed.R.Civ.P.(e)(t)(l), of the voluntary dismissal without prejudice of her action
in intervention against defendant Autozone. The notice is self-operating and the C|erk of
the Court is directed to enter this order dismissing the action of intervening plaintiff

Constance Amos.

i'r is so oRDERED, this WL\ day of mcf ,2005.

Samuei H. Mays, Jr.
United States District Court Judge
Westem District of Tennessee

 

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This notice confirms a copy of the document docketed as number 245 in
case 2:00-CV-02923 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed.

 

 

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Case 2:OO-cV-02923-SH|\/|-egb Document 245 Filed 07/06/05 Page 3 of 4

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Page|D 414

Case 2:OO-cV-O2923-SH|\/|-egb Document 245 Filed 07/06/05 Page 4 of 4 Page|D 415

Honorable Samuel Mays
US DISTRICT COURT

